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                                            AFFIDAVIT

I, Nathalie Mendez, being duly sworn, hereby depose and state that the following is true to the
best of my information, knowledge, and belief:

                      INTRODUCTION AND AGENT BACKROUND

1. Your affiant is a Special Agent (“SA”) with the United States Secret Service (“USSS”) and
   have been since December 30, 2019. During employment with the USSS, your affiant has
   completed the Criminal Investigator Training Program at the Federal Law Enforcement
   Training Center. Your affiant has also completed the Special Agent Training Course at the
   James J. Rowley Training Center. A substantial portion of training has focused on criminal
   investigations involving wire fraud, bank fraud, identity theft, and electronic crimes
   involving computers and cellular devices. Your affiant has participated in numerous of
   investigations that have included the use of GPS tracking warrants, surveillance, debriefing
   defendants, witnesses, informants, and others who have knowledge of criminal activities.
   Your affiant has been involved in the preparation of affidavits for search warrants and has
   participated in the execution of searches. Your affiant is currently assigned to the Denver
   Field Office, responsible for investigating a variety of financial fraud crimes.

2. This affidavit is submitted in support of criminal complaint charging YASMANY
   GUERRA PENA (“PENA”) with:

       (1) bank fraud and aiding and abetting in violation of 18 U.S.C. §§ 1344 and 2 (“bank
       fraud”);

       (2) knowingly, and with intent to defraud, using, producing, or trafficking in one or more
       counterfeit access devices, which offense affected interstate or foreign commerce in
       violation of 18 U.S.C. §§1029(a)(1) and 2 (“use of counterfeit access device”);

       (3) conspiracy to knowingly, and with intent to defraud, produce, traffic in, have control
       or custody of, or possess device-making equipment which offense affected interstate or
       foreign commerce and one of the parties to the conspiracy engaged in any conduct in
       furtherance of such offense in violation of 18 U.S.C. § 1029(a)(4) and (b)(2) (“conspiracy
       to possess device making equipment”).

3. Because this affidavit is being submitted for the limited purpose of establishing probable
   cause in support of a criminal complaint and arrest warrant for YASMANY GUERRA
   PENA with the offenses identified above, I have not included each and every fact known to
   me concerning this investigation. I have set forth facts that I believe are necessary to
   establish probable cause to believe that YASMANY GUERRA PENA violated the
   following federal offenses: (1) bank fraud, 18 U.S.C. §§ 1344 and 2; (2) use of counterfeit
   access device, 18 U.S.C. §§1029(a)(1) and 2; and (3) conspiracy to possess device making
   equipment, § 1029(a)(4) and (b)(2).




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4. The information contained within the affidavit is based on my training and experience, as
   well as information imparted to me by other law enforcement officers involved in this
   investigation.

5. For purposes of this affidavit, your affiant uses the term “skimmers” to refer to unauthorized
   devices or equipment (as used within the meaning of 18 U.S.C. § 1029 (e)(6) for “device
   making equipment”) which can be installed on any fuel pump or other similar point of sale
   location, and which can be used by individuals to secretly collect customer credit card or
   bank account information. When using the term “clone-card,” your affiant is referring to an
   “unauthorized access device” which as defined by 18 U.S.C. § 1029 (e)(2) to mean: “any
   access device which is counterfeit, fictitious, altered or forged, or an identifiable component
   of an access device or a counterfeit access device.” “Clone-cards” are any type of access
   device (blank plastic card) which have been encoded with stolen bank account information
   from an unsuspecting customer. Such “clone-cards” can then be used by individuals to
   access unsuspecting customers’ bank accounts or be used to make unauthorized purchases
   of goods or merchandise.

                                       INVESTIGATION

                                          Background

6. In November 2021, your affiant began working with the Colorado Springs Police
   Department (“CSPD”) to help further a financial crimes investigation specifically affecting
   the Southern Colorado area. In November of 2021, your affiant began receiving
   information regarding criminal activity in the Colorado Springs area which involved identity
   theft, use of clone-cards, and the installation of illicit skimmers. These criminal activities
   were shared with Detective Wayne Lambert (“Det. Lambert”) and Investigator Deborah Parr
   (“Inv. Parr”) at the Financial Crimes Unit of CSPD. As a result, your affiant and CSPD
   began a joint investigation involving PENA and others associated in similar criminal
   activities.

7. During the summer of 2021, CSPD began receiving multiple reports and complaints of
   fraudulent activity from gas stations and convenience stores in the Colorado Springs area.
   The stores were reporting financial losses due to fraudulent activity at their businesses to
   include credit card skimming devices, fuel theft, credit card fraud, and other fraudulent
   activities involving the use of multiple trucks.

8. CSPD received a large number of reports of fraud from “Kum & Go” which is chain of
   convenience stores that sells fuel. Kum & Go Loss Preventions Manager Joel Roberts
   (“Roberts”) was responsible for keeping track of suspicious activity and reporting such
   information to CSPD. Among other things, Roberts reported an unusual number of
   credit/debit card chargebacks related to the purchase of diesel fuel within the Colorado
   Springs area. Based on my experience and training, your affiant is aware that chargebacks
   occur when the owner of a debit/credit card account disputes a purchase or charge against
   the card with their financial institution. The financial institution then conducts a cursory
   investigation and if it concurs with its customer, it will withdraw the payment,
   electronically, causing a loss to the retail organization, which in a number of instances was

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   Kum & Go convenience stores. During the fall of 2021 and into early 2022, other gas
   stations and convenience stores in the Colorado Springs area also began making similar
   complaints as Kum & Go to CSPD regarding fraudulent purchases of diesel fuel and
   chargebacks occurring in connection with their stores.

                   PENA’s Use of Clone-Cards at Gas Stations and Retail Stores

9. As further detailed below in this affidavit, your affiant’s investigation has determined that
   during the period of approximately September 8, 2021, through approximately April of
   2022*, PENA used clone-cards (also known as “unauthorized access devices”) at various
   gas stations and retail stores to make unauthorized purchases of goods, diesel fuel and other
   items. When making such purchases, PENA used the stolen account numbers of various
   victims who were unaware that their bank and credit card accounts had been compromised.
   PENA’s use of the customers’ stolen account data was done without the customers’
   knowledge or permission. A number of the customers interviewed by CSPD indicated that
   they had suffered losses connected to their bank or credit card company, and as a result, they
   filed a dispute of such charges with their respective financial institution. Set forth below in
   this affidavit are a number of instances where PENA used stolen bank and credit card
   account information of others to make unauthorized purchases.

                            September 8, 2021 – Smoker Friendly Store

10. On September 24, 2021, CSPD received notification of fraud which was reported by
    Meranda Yowell who was an employee at Smoker Friendly Gas Station located on 1437
    North Circle, Colorado Springs, Colorado. CSPD Officer Hulett responded to this report
    and spoke to Ms. Yowell who stated that she received notification from the corporate office
    on September 23, 2021, that two (2) credit card transactions had been disputed as fraudulent
    purchases. These transactions being disputed occurred on September 8, 2021, at 6:06 pm
    and 6:14 pm. Both transactions being disputed by the customer occurred at the actual gas
    pumps and were not inside the store.

11. Ms. Yowell accessed surveillance footage matching the time range in question (September
    8, 2021- 6:06 pm and 6:14 pm). The store surveillance footage showed a male driving a
    silver Ford pickup truck with what appeared to be a leather cover over the bed. The
    description of the male was mixed race (Hispanic/White) and he appeared approximately 30
    years old. The male in the video responsible for making the two fraudulent purchases at the
    pump was also observed on the video going into the store to purchase a drink and honeybun
    for which he paid in cash.

12. On September 28, 2021, Community Service Officer Wood retrieved the surveillance video
    from Smoker Friendly, along with copies of credit card chargeback documentation from Ms.
    Yowell. Officer Hulett later reviewed this video on September 29, 2021. The evidence had
    paperwork from Merchant Services directed towards Smoker Friendly in regard to the
    dispute credit card charges. Both charges were done using a Visa card 425404xxxxxx1188
    on September 8, 2021. One charge was for $149.87 conducted at 6:08 pm and the other


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   charge was for $150.00 conducted at 6:14 pm. The transaction method was listed as “pay at
   the pump” and both transactions were disputed by the account holder.

13. On October 22, 2021, Inv. Parr was assigned to follow up on the report from Smoker
    Friendly. When reviewing the video, Inv. Parr recognized the male from other investigations
    she was familiar with. The male in the video was identified by Inv. Parr to be YASMANY
    GUERRA PENA.

14. Your affiant also reviewed still photos from the Smoker Friendly video dated September 8,
    2021, and similarly recognized the male in the video to be PENA. Your Affiant has
    attached two still photos from the video one of which shows PENA inside Smoker Friendly.




                             September 27, 2021 – Big R. Stores


15. On September 27, 2021, Beatrice Padron reported to CSPD that she was a victim of credit
    card fraud for a total loss of $1,731.08 involving her VISA payment card account (4798-
    4100-1415-4438). Padron reported that there were two (2) unauthorized purchases on her
    account which occurred on September 27, 2021. The purchases occurred at two different
    locations of Big R Stores (ranch/supply store): one located at 5845 Constitution Avenue,
    Colorado Springs, CO and the other located at 14155 East US Highway 24, Payton CO.

16. CSPD Det. Lambert later assumed responsibility over the investigation involving the fraud
    connected to Padron’s VISA card. Further investigation by Det. Lambert revealed that the
    Big R Store had CCTV footage based on the specific time, date and transaction information
    related to the usage on Padron’s VISA card.

17. Det. Lambert and Inv. Parr reviewed the CCTV footage. Initially, the investigators were
    unable to identify the suspect using Padron’s card. However, after reviewing other police
    reports and investigative materials related to PENA, Det. Lambert was able to confirm that
    the suspect in the video seen using victim Padron’s VISA card was in fact PENA. Det.
    Lambert further determined that the receipt of these transactions made at the two Big R
    Stores revealed the following purchases: diesel fuel hose, electric fuel pump, and fuel
    distribution nozzles. Based on training and experience, Det. Lambert noted that such items

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   are common paraphernalia used by individuals involved in the illicit theft, transfer, and
   resale of diesel fuel. Det. Lambert reviewed the card receipts and determined that the
   receipts contained a signature. Det. Lambert reviewed the signatures with Padron who
   confirmed that it was not her signature. Your Affiant has attached three still photos from the
   Big R Store which show PENA making an unauthrorized purchase within the store.




              October 14, 2021 – Super Suds Car & Dog Wash and Loaf-N-Jug

18. On October 18, 2021, CSPD Detective Nancy Palmer responded to a fraud report that
    previously had been received by the CSPD Communication Center several days earlier. The
    reporting party was Betsy Kammer who contacted CSPD on behalf of her boyfriend David
    Toney. According to Ms. Kammer, Toney noticed there was an unknown charge on his
    Citibank credit card which occurred on October 14, 2021. This disputed charge was for
    $17.00 on Toney’s credit card ending in # 3122. The charge was made at a Super Suds Car
    & Dog Wash located at 7481 Black Forest Rd., Colorado Springs, CO. Your affiant
    determined that Citibank is and was a financial institution insured by the Federal Deposit
    and Insurance Corporation in October of 2021.

19. Det. Palmer’s police report indicated that Ms. Krammer stated that on October 14, 2022,
    Toney noticed multiple charges pending in the approximate amount of $125.00 made at a
    Loaf-N-Jug Store. Toney then tried to log into his account and ended up being logged out.
    Ms. Krammer sent a copy of Toney’s Citibank credit card to Det. Palmer which revealed the
    following fraudulent charges:

             (1) 10/14/21 at 10:22am- Super Suds Car & Dog Wash at 7481 Black Forest Rd
                 - amount: $17.00.
             (2) 10/14/21 at 7:02 pm – Loaf-N-Jug at 31918 E. Hwy. 96, Pueblo Co –
                 amount: $124.61.
             (3) 10/14/21 at 9:03 pm- Loaf-N-Jug at 2nd St, Fowler Co – amount; $124.80.
             (4) 10/14/21 at 9: 09 pm – Loaf-N-Jug at 2nd St, Fowler Co- amount: $124.95.

20. Ms. Krammer further reported to CSPD that Toney always remained in possession of his
    credit card and that someone must have used a clone-card to conduct the transactions. Ms.

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   Kammer was able to contact the owner at the Super Suds Car and Dog Wash on Black
   Forest Rd, and provided the date, time, and credit card number to the owner. The owner
   was able to locate video surveillance at the time that Toney’s card was used. The owner
   stated to Ms. Krammer that the car in the video was a white Chrysler with tinted windows
   bearing temporary plates 30225V6. According to the owner, the person in the vehicle was a
   Hispanic male with short dark hair.

21. Detective Palmer contacted the Loss Preventions Manager at Loaf N Jug, Matt Ferschke,
    who sent video from the Pueblo, CO gas station to her. Detective Palmer also contacted the
    manager, Mr. Davis Grover, at the Super Suds Car and Dog Wash to collect video
    surveillance. Mr. Grover sent Detective Palmer still shots of the video. Detective Plamer
    was able to determine from the video that the license plate for the Chrysler 300 in the video
    came to be a Texas temporary plate #30225V6 which belonged to a white 2017 Chrysler
    300. Further records check by Detective Palmer indicated that the car belonged to
    Alejandro Sanchez with an address of 14249 SW 120th Court, Miami FL

22. On October 26, 2021, Mr. Grover at Super Suds Car and Dog Wash again contacted
    Detective Palmer and indicated that the same suspect had returned to his business on
    October 22, 2021. Mr. Grover stated that the suspect was driving the same White Chrysler
    300 and used another stolen credit card. Mr. Grover provided more photos of the suspect to
    Detective Palmer regarding this second incident.

23. As part of her follow-up investigation, Detective Palmer learned that the victim was named
    John (last name not provided) and that John had contacted Mr. Grover to report that his card
    information had been used at the carwash without his consent. Detective Palmer collected
    photos of the suspect along with the surveillance video from Mr. Grover.

24. On October 28, 2021, a vehicle stop was conducted by CSPD Officer Barnett in Colorado
    Springs, Co of a Chrysler 300 bearing Texas temporary tag #30225V6 (the same vehicle
    observed approximately two weeks earlier at the Super Suds Car and Dog Wash). Officer
    Barnett identified the driver as “YASMANY GUERRA PENA”.

25. On November 23, 2021, Det. Lambert obtained a copy of the body worn camera related to
    Officer Barnett’s traffic stop of PENA. The camera identified PENA on the video as the
    driver of the Chrysler 300 which bore the Texas temporary license plate as 30225V6.

26. Det. Lambert and Inv. Parr at a later date reviewed the footage sent from the Loaf-N-Jug
    and the Super Suds Car and Dog Wash and determined that PENA was the individual
    observed on the videos based on the totality of the investigation and other surveillance
    footage (including the body worn camera footage from Officer Barnett’s traffic stop) and
    various photos collected in their investigation.

27. Your affiant also reviewed still photos from the Super Suds Car & Dog Wash (photo
    attached below on left) and the body worn camera from the traffice stop done conducted on
    October 28, 2021 (photo attached below on right). Your Affiant recognized the male in the
    car wash video to be PENA.

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                       January 17, 2022 – Kum & Go Store – Duryea Road

28. On January 17, 2022, Loss Preventions Manager Joel Roberts from Kum & Go reported to
    CSPD that at one of his store locations at 7375 Duryea Road, Colorado Springs CO, had
    some fraudulent activity. Roberts provided CCTV footage to Inv. Parr, Det. Lambert, and
    your affiant. The video provided showed PENA getting out of a while flat nosed box truck
    which was later identified and connected to PENA at other locations in the Colorado
    Springs area.

             (1) The white flat nosed box truck that PENA was driving was fueled at this gas
                 station and the transaction was tracked by Roberts based on the time of the
                 video and date of the specific transaction. This transaction record was shared
                 with Inv. Parr and Det. Lambert.
             (2) The credit card number used in the transaction shared on 01/17/22, belonged
                 to Zachary Tomayo.
             (3) Victim Zachary Tamayo was later interviewed by Detective Lambert and
                 Inv. Parr. The interview confirmed that Tomayo did not authorize PENA to
                 use his financial information to purchase fuel on 01/17/22 at the Kum & Go
                 Gas Station at 7375 Duryea Rd. PENA is observed on the video fueling the
                 flat nosed box truck using the stolen personal financial information of
                 Tamayo.
             (4) Detective Lambert also investigated transactions with similar date and times
                 at this location and uncovered ten (10) different financial accounts (credit
                 cards or debit cards) used at the same Kum & Go location and at the same
                 time all being disputed.
             (5) These transactions accumulated to a loss of $2,242.55 with over 396 gallons
                 of diesel fuel being purchased through the use of fraudulent clone-cards.
             (6) PENA was seen on video both inside the gas station store and then outside at
                 the pump by the white flat nosed truck. Your Affiant has attached two still
                 photos from January 17, 2022, from the Kum & Go Store: one which shows
                 PENA making a cash purchase within the store (photo below on left) and
                 another which shows the white flat nosed truck used by PENA (photo below
                 on right).


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                      February 5, 2022 – Kum & Go Store – Nevada Avenue

29. On February 5, 2022, CSPD Det. Lambert was on duty when he observed a white flat nosed
    box fueling at a Kum & Go Store located at 1021 S. Nevada Avenue, Colorado Springs, CO.
    Det. Lambert immediately recognized PENA as the operator of the truck based on his
    ongoing investigation. After Det. Lambert identified PENA, he began surveillance of
    PENA and proceeded to follow PENA once he left the gas station. While following PENA,
    Det. Lambert witnessed PENA driving to 208 Troy Hill Road, Colorado Springs, CO; the
    “Troy Hill” location was later determined by CSPD to be a truck yard that was commonly
    frequented by other bladder trucks. (Agent’s note: Based on your affiant’s experience and
    training, “bladder trucks” are large trucks which have been modified with auxiliary fuel
    tank(s) which are often capable of storing hundreds of gallons of diesel fuel. Often the
    tanks are affixed to the trucks in a manner such that they are difficult to detect and not
    immediately apparent.)

30. Det. Lambert later followed up on PENA’s transaction which occurred on 02/05/22 at the
    Kum & Go. Det. Lambert was able to obtain transaction information related to PENA’s
    purchase of the fuel using the specific time and pump which PENA utilized. This
    transaction led to the credit card information belonging to victim Cy Gillespie, which PENA
    had used that day.

31. Det. Lamber interviewed Gillespie and learned that Gillespie never authorized PENA’s
    purchase of diesel fuel purchased on 02/05/22 using Gillespie’s personal bank card
    information. Det. Lambert further identified that Gillespie’s card information had been
    used three (3) other times between 02/05/22 and 02/08/22 for a total loss of $373.56.

            PENA and Other Individuals Installing Skimmers and Connected Activity

32. Your affiant’s investigation also determined that during the same time period -- September
    8, 2021, to April of 2022 -- PENA, along with other known and unknown individuals, also
    participated in the placement of skimmers onto fuel pumps at various gas stations
    throughout the Colorado Springs area. Later, PENA and other individuals extracted the
    credit card information from the skimmers and placed the stolen customer data on various
    plastic blank cards with magnetic strips, creating “clone-cards”. Using the clone-cards
    which contain the customers’ stolen account numbers, PENA and others purchased fuel and
    then sold the stolen fuel via social media, word of mouth, or other means to various random

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   parties. The diesel fuel purchased with the clone cards was frequently taken by PENA and
   others involved in the scheme to a truck yard located in the Colorado Springs area using
   bladder trucks where it was later redistributed to purchasers.

33. On February 16, 2022, a surveillance camera was placed overlooking a truck yard located at
    208 Troy Hill Road, Colorado Springs, CO. Det. Lambert and CSPD determined that most
    of the bladder truck vehicles seen at gas stations in the Colorado Springs area conducting
    fuel thefts were being followed and ending up at this yard. Using the surveillance camera,
    CSPN monitored the activity at the truck yard for a few months. Below your affiant
    attached a still photo of PENA exiting a bladder truck at the Troy Hill truck yard on March
    4, 2022.




   January 8, 2022 – Skimmer Located at Native Roots Dispensary & Gas Station

34. As part of CSPD’s investigation into PENA’s activities, Det. Lambert obtained a police
   report in which Kimberly McClure reported to the CSPD that she discovered a gas pump
   skimmer on one of the gas pumps at her business. Specifically, McClure reported that on
   January 8, 2022, she found a skimmer at her business, Native Roots Dispensary & Gas
   Station which was located at 1705 W. Uintah Street, Colorado Springs, CO. McClure
   reported that the lock on the gas pump had been bypassed without her permission. The gas
   pump skimmer installed on the pump was controlling the computers’ circuit board.

35. CSPD Officer Samantha Baker (CSPD) collected the skimmer from McClure on February
    27, 2002, along with the CCTV footage of the date. The CCTV footage was later reviewed
    by Inv Parr who identified PENA at the gas pump that had the skimmer on it. Investigator
    Parr was able to identify PENA based on previous photos and the overall ongoing
    investigation on PENA. Specifically, Inv. Parr observed PENA in the video driving a white
    Ford Panel van with a 6-inch horizontal stripe. This vehicle was later seen by CSPD at the
    Troy Hill truck yard. CSPD later transferred the skimmer to your affiant. I transferred the
    illicit skimmer to the USSS laboratory where it is still being processed for fingerprints and
    other data.

                    March 6, 2022 – Skimmer Located at Everyday Gas Station

36. On March 6, 2022, Kalatter Singh reported to CSPD that an unauthorized entry to his locked
    gas pump was made at his gas station. Specifically, Singh was the owner of the Everyday

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   Gas Station & convenience store located at 906 Peterson Road, Colorado Springs, CO. This
   gas pump had a skimming device that had been installed onto the computers’ circuit board
   of the pump.

37. On March 10, 2022, CSPD Investigator Wickser (CSPD) and Inv. Parr went to the
    Everyday Gas Station at 906 Peterson Road, Colorado Springs, CO and obtained the CCTV
    video. In reviewing the video, the investigators observed three (3) vehicles surrounding the
    pump where the illicit skimmer was found. PENA along with several others were observed
    in the area with the vehicles at the time the skimmer appeared to be installed. One (1)
    vehicle specifically was a white flat nosed box truck and another one a white GMC panel
    van. Both of these vehicles were observed by CSPD via surveillance video at various times
    at the Troy Hill truck yard.

38. On March 24, 2022, Owner Singh observed the same three vehicles return to his Everyday
    Gas Station located at 906 Peterson Road. Singh obtained personal video of the vehicles
    and some of the individuals connected to them. On March 24, 2022, Singh sent Inv. Parr a
    video he had taken himself at his store. The video was three (3) minutes and seventeen (17)
    seconds.

39. In the video collected by Singh, Inv. Parr was able to identify a white flat nose box truck
    and a white cargo van next to it. These are the same vehicles that were observed earlier in
    store video collected on March 6, 2022, when installation of a skimmer occurred. The
    driver of one of the trucks purchased a case of water and paid in cash. The male in the
    Singh’s video was identified by Inv. Parr as PENA.




40. Shortly thereafter, Singh also sent Investigator Parr four (4) additional photos and the
    images from store surveillance which again showed PENA at the register paying for the case
    of water. These photos were separate from the Singh’s personal video of the outside of the
    store where PENA was identified as the driver of the truck.

                           State Search Warrant and Arrest of Pena

41. On April 8, 2022, CSPD obtained a state search warrant which authorized the search of the
    “truck yard” premises located at 208 Troy Hill Road, Colorado Springs, CO. The warrant
    authorized the seizure of any bladder trucks, credit card rewriters and more. The search

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   warrant identified some known players and PENA. Among other things, the search resulted
   in the seizure of four trucks, two of which were bladder trucks full of diesel fuel. All of the
   four (4) trucks were previously seen on video store surveillance at various gas stations
   involved in the investigation to include Native Roots Dispensary, Kum & Go Stores, and
   Everyday Gas Station. In addition, five empty 300 gallon plastic containers used for storing
   fuel were seized as well.

42. On May 3, 2022, CSPD obtained an arrest warrant (22CR2275) in Colorado State Court for
    PENA. The arrest warrant listed the following Colorado Revised Statutes as State offenses:
    (1) 18-5-902, Identity Theft, Class Four Felony; (2) 18-5-102, Forgery, Class Five Felony;
    and (3)18-4-401, theft, Class Six Felony. In addition, PENA is also currently charged with
    two other state cases involving fraud charges. All three (3) of these state cases remain
    pending in El Paso County District Court at the present time. Based on scope, scale and
    nature of PENA’s conduct in the present matter, and other overlapping investigations
    involving interstate motor vehicle theft and the unlawful distribution of controlled
    substances, it appears that PENA remains involved in ongoing criminal conduct.
    Accordingly, your affiant is presently pursuing federal charges against PENA.

43. According to a review of PENA’s criminal history compiled by Inv. Parr, PENA was
    previously charged on June 23, 2017, in Utah with “fraud-illegal use of credit cards” for
    which he was later convicted and sentenced to 3 years of probation and 45 days of jail. In
    addition, Inv. Parr determined that PENA was previously arrested on June 20, 2018, in El
    Paso County Colorado for “identity theft-alter/making written instrument” for which he was
    later convicted and sentenced to 2 years of probation.
                                           CONCLUSION

44. Your affiant submits that this affidavit supports probable cause to believe that from on or
    about July 2021 to on or about present day, YASMANY GUERRA PENA violated the
    following federal offenses: (1) bank fraud, 18 U.S.C. §§ 1344 and 2; (2) use of counterfeit
    access device, 18 U.S.C. §§1029(a)(1) and 2; and (3) conspiracy to possess device making
    equipment, § 1029(a)(4) and (b)(2).

45. I declare under penalty of perjury that the foregoing is true and correct to the best of my
    information, knowledge, and belief.




                                                     Respectfully submitted,

                                                     s/Nathalie Mendez
                                                     _______________________________________
                                                     Nathalie Mendez
                                                     Special Agent
                                                     United States Secret Service



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SUBSCRIBED and SWORN before me by telephone this 18th day of January 2023:



_____________________________________
UNITED STATES MAGISTRATE JUDGE


The application for search warrant was reviewed and is submitted by Tim Neff, Assistant United
States Attorney.




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